Case 8:24-cv-01801-PX Document 12-2 Filed 09/09/24 Page 1 of 10

MARYLAND ADVANCE DIRECTIVE:
PLANNING FOR FUTURE HEALTH CARE DECISIONS

By: Guy Martin Date of Birth: 2/14/1955

(Print Name) (Month/Day/Year)

Using this advance directive form to do health care planning is completely optional.
Other forms are also valid in Maryland. No matter what form you use, talk to your family
and others close to you about your wishes.

This form has two parts to state your wishes, and a third part for needed signatures.
Part I of this form lets you answer this question: If you cannot (or do not want to) make
your own health care decisions, who do you want to make them for you? The person you
pick is called your health care agent Make sure you talk to your health care agent (and
any back-up agents) about this important role. Part II lets you write your preferences
about efforts to extend your life in three situations: terminal condition, persistent
vegetative state, and end-stage condition. In addition to your health care planning
decisions, you can choose to become an organ donor after your death by filling out the form
for that too.

+> Youcan fill out Parts I and II of this form, or only Part IJ, or only Part IJ. Use the form to
reflect your wishes, then sign in front of two witnesses (Part III). If your wishes change,
make a new advance directive.

Make sure you give a copy of the completed form to your health care agent, your
doctor, and others who might need it. Keep a copy at home in a place where someone can
get it if needed. Review what you have written periodically.

PART I: SELECTION OF HEALTH CARE AGENT

. Selection of Primary Agent
I select the following individual as my agent to make health care decisions for me:
vam: ASNNeU Nance
Address: \O 02. FronWa | FOL

Silver Spmng, MD acroe
Telephone Numbers: 2 au O- a X l-| BQ —

(home and cell)

Page | of 8
Case 8:24-cv-01801-PX Document 12-2 Filed 09/09/24 Page 2 of 10
B. Selection of Back-up Agents
(Optional; form valid if left blank)

1. Ifmy primary agent cannot be contacted in time or for any reason is unavailable or
unable or unwilling to act as my agent, then I select the following person to act in this

capacity:
Name: Do lareS Ma. rshal |
Address: S023 Last jeffer 20N sheet
Rockyile ,MD_ aox 5.
30 265-1399

(home and cell)

Telephone Numbers:

2. Ifmy primary agent and my first back-up agent cannot be contacted in time or for any
reason are unavailable or unable or unwilling to act as my agent, then I select the

following person to act in this capacity:

Name: “Tvan KArauzO
Address: \OO12 Clennaven PKWY
Siwer Spring, MP Aoqve-
20/- 049-5518 _/30'- Z00-8v5a.

(home and cell)

Telephone Numbers:

C. Powers and Rights of Health Care Agent

| want my agent to have full power to make health care decisions for me, including the
power to:

1. Consent or not to medical procedures and treatments which my doctors offer, including
things that are intended to keep me alive, like ventilators and feeding tubes;

2. Decide who my doctor and other health care providers should be; and

3. Decide where | should be treated, including whether I should be in a hospital, nursing
home, other medical care facility, or hospice program.

4, | also want my agent to:
a. Ride with me in an ambulance if ever I need to be rushed to the hospital; and

b. Be able to visit me if 1 am ina hospital or any other health care facility.

THIS ADVANCE DIRECTIVE DOES NOT MAKE MY AGENT
RESPONSIBLE FOR ANY OF THE COSTS OF MY CARE.

Page 2 of 8
~~

Case 8:24-cv-01801-PX Document 12-2 Filed 09/09/24 Page 3 of 10

This power is subject to the following conditions or limitations:
(Optional; form valid if left blank)

D. How my Agent is to Decide Specific Issues

I trust my agent’s judgment. My agent should look first to see if there is anything in Part II
of this advance directive that helps decide the issue. Then, my agent should think about the
conversations we have had, my religious and other beliefs and values, my personality, and
how I handled medical and other important issues in the past. If what | would decide is still
unclear, then my agent is to make decisions for me that my agent believes are in my best
interest. In doing so, my agent should consider the benefits, burdens, and risks of the

choices presented by my doctors.

E. People My Agent Should Consult
(Optional; form valid if left blank)

In making important decisions on my behalf, ] encourage my agent to consult with the
following people. By filling this in, I do not intend to limit the number of people with whom

my agent might want to consult or my agent's power to make decisions.

Name(s) Telephone Number(s):

F. In Case of Pregnancy
(Optional, for women of child-bearing years only; form valid if left blank)

If | am pregnant, my agent shall follow these specific instructions:

N Hs

Page 3 of 8
Case 8:24-cv-01801-PX Document 12-2 Filed 09/09/24 ~ Page 4 of 10
G. Access to my Health Information - Federal Privacy Law (HIPAA) authorization

1. If, prior to the time the person selected as my agent has power to act under this
document, my doctor wants to discuss with that person my capacity to make my own
health care decisions, | authorize my doctor to disclose protected health information

which relates to that issue.

2, Once my agent has full power to act under this document, my agent may request,
receive, and review any information, oral or written, regarding my physical or mental
health, including, but not limited to, medical and hospital records and other protected
health information, and consent to disclosure of this information.

3. For all purposes related to this document, my agent is my personal representative
under the Health Insurance Portability and Accountability Act (HIPAA). My agent may
sign, as my personal representative, any release forms or other HIPAA-related

materials.

H. Effectiveness of this Part
(Read both of these statements carefully. Then, initial one only.)

My agent’s power is in effect:

1. Immediately after I sign this document, subject to my right to make any decision about
my health care if] want and am able to. .
eG

>>OR<<

2. Whenever! am not able to make informed decisions about my health care, either
because the doctor in charge of my care (attending physician) decides that | have lost
this ability temporarily, or my attending physician and a consulting doctor agree that I

have lost this ability permanently.
S

If the only thing you want to do is select a health care agent,
skip Part II. Go to Part III to sign and have the advance
directive witnessed. If you also want to write your treatment
preferences, go to Part II. Also consider becoming an organ
donor, using the separate form for that.

Page 4 of 8
Case 8:24-cv-01801-PX Document 12-2 Filed 09/09/24 Page 5 of 10

PART I: TREATMENT PREFERENCES (“LIVING WILL”)

A. Statement of Goals and Values
(Optional: Form valid if left blank)

| want to say something about my goals and values, and especially what’s most important
to me during the last part of my life:

B. Preference in Case of Terminal Condition
(If you want to state what your preference is, initial one only. If you do not want to state a

preference here, cross through the whole section.)

If my doctors certify that my death from a terminal condition is imminent, even if
life-sustaining procedures are used:

1: Keep me comfortable and allow natural death to occur. | do not want any medical
interventions used to try to extend my life. 1 do not want to receive nutrition and fluids

by tube or other medical means.
S
>>OR<<

2. Keep me comfortable and allow natural death to occur. | do not want medical
interventions used to try to extend my life. If 1 am unable to take enough nourishment
by mouth, however, | want to receive nutrition and fluids by tube or other medical

means.
a QM __

3. Try to extend my life for as long as possible, using al] available interventions that in
reasonable medical judgment would prevent or delay my death. If ] am unable to take
enough nourishment by mouth, I want to receive nutrition and fluids by tube or other

medical means.

>>OR<<

&g

Page 5 of 8
Case 8:24-cv-01801-PX Document 12-2 Filed 09/09/24 Page 6 of 10
C. Preference in Case of Persistent Vegetative State
(If you want to state what your preference is, initial one only. If you do not want to state a
preference here, cross through the whole section.)

If my doctors certify that lamina persistent vegetative state, that is, if lam not
conscious and am not aware of myself or my environment or able to interact with
others, and there is no reasonable expectation that I will ever regain consciousness:

1. Keep me comfortable and allow natural death to occur. I do not want any medical
interventions used to try to extend my life. I do not want to receive nutrition and fluids

by tube or other medical means.

>>OR<<

2. Keep me comfortable and allow natural death to occur. I do not want medical
interventions used to try to extend my life. If am unable to take enough nourishment
by mouth, however, I want to receive nutrition and fluids by tube or other medical

means.
S

>>OR<<

3, Try to extend my life for as long as possible, using all available interventions that in
reasonable medical judgment would prevent or delay my death. If | am unable to take
enough nourishment by mouth, I want to receive nutrition and fluids by tube or other

medical means.
g

D. Preference in Case of End-Stage Condition
(If you want to state what your preference is, initial one only. If you do not want to state a
preference here, cross through the whole section.)

If my doctors certify that I am in an end-state condition, that is, an incurable
condition that will continue in its course until death and that has already resulted in

loss of capacity and complete physical dependency:

1. Keep me comfortable and allow natural death to occur. I do not want any medical
interventions used to try to extend my life. I do not want to receive nutrition and fluids

by tube or other medical means.
S

>>OR<<

2, Keep me comfortable and allow natural death to occur. | do not want medical
interventions used to try to extend my life. If | am unable to take enough nourishment
by mouth, however, I want to receive nutrition and fluids by tube or other medical

means. a
e cM

>>OR<<

3. Try to extend my life for as long as possible, using all available interventions that in
reasonable medical judgment would prevent or delay my death. If] am unable to take
enough nourishment by mouth, | want to receive nutrition and fluids by tube or other

medical means.
Bw

Page 6 of 8
so

Case 8:24-cv-01801-PX Document 12-2 Filed 09/09/24 Page 7 of 10
E. Pain Relief

No matter what my condition, give me the medicine or other treatment | need to relieve
pain.

F. In Case of Pregnancy
(Optional, for women of child-bearing years only; form valid if left blank)

If 1am pregnant, my decision concerning life-sustaining procedures shall be modified as
follows:

N fhe

G. Effect of Stated Preferences
(Read both of these statements carefully. Then, initial one only.)

1. realize ] cannot foresee everything that might happen after | can no longer decide for
myself. My stated preferences are meant to guide whoever is making decisions on my
behalf and my health care providers, but I authorize them to be flexible in applying
these statements if they feel that doing so would be in my best interest.

sk

2. Irealize | cannot foresee everything that might happen after | can no longer decide for
myself. Still, | want whoever is making decisions on my behalf and my health care
providers to follow my stated preferences exactly as written, even if they think that

some alternative is better.

>>OR <<

Page 7 of 8
Case 8:24-cv-0180T-PX Document 12-2 Filed 09/09/24 Page 8 of 10

PART ILI: SIGNATURE AND WITNESSES

By signing below as the Declarant, | indicate that I am emotionally and mentally competent
to make this advance directive and that | understand its purpose and effect. I also
understand that this document replaces any similar advance directive I may have

completed before this date.

Au Vy tee 5-26-H722

A
pipnare of Declarant) (Date)

The Declarant signed or acknowledged signing this document in my presence and, based
upon personal observation, appears to be emotionally and mentally competent to make

this advance directive.

sandy (luurun 5

(Signature of Witness) (Date)

301 —to - (9lod5

Telephone Number(s):

blob 5|20 | 202-2.

(Signature of Witness) (Date)

20)-q 70-6625

Telephone Number(s):

all ab2e

(Note: Anyone selected as a health care agent in Part | may not be a witness. Also, at least
one of the witnesses must be someone who will not knowingly inherit anything from the
Declarant or otherwise knowingly gain a financial benefit from the Declarant’s death.
Maryland law does not require this document to be notarized.)

s/o, [roze2—

foi Public
Marya
Ha oe es yal LOZ 4

Page 8 of 8
Case 8:24-cv-01801-PX Document 12-2 Filed 09/09/24 Page 9 of 10

AFTER My DEATH
(This document is optional. Do only what reflects your wishes.)

Guy 4 DARN Date of Birth: 2) ALLIES

By:
a (Print Name) (Month/Dfy/Year)

PART I: ORGAN DONATION

(Initial the ones that you want. Cross through any that you do not want.)

&
e (xz M

Upon my death I wish to donate:

Any needed organs, tissues, or eyes.
Only the following organs, tissues or eyes:

I authorize the use of my organs, tissues, or eyes:

For transplantation

For therapy

For research

For medical education

ac

For any purpose authorized by law

| understand that no vital organ, tissue, or eye may be removed for
transplantation until after | have been pronounced dead. This document is not intended to
change anything about my health care while I am still alive. After death, I] authorize any
appropriate support measures to maintain the viability for transplantation of my organs,
tissues, and eyes until organ, tissue, and eye recovery has been completed. | understand
that my estate will not be charged for any costs related to this donation.

PART IJ: DONATION OF BODY

After any organ donation indicated in Part I, | wish my body to be donated for use in
a medical study program.

®

Page 1 of 2
Case 8:24-cv-01801-PX Document 12-2 Filed 09/09/24 "Page 10 of 10

PART III: DISPOSITION OF BODY AND FUNERAL ARRANGEMENTS

I want the following person to make decisions about the disposition of my body and
my funeral arrangements: (Either initial the first or fill in the second.)

The health care agent who I named in my advance directive.

>>OR<<
This person:
Name: Dolores (\Aarshall
Address: GOB Bast Jeter son Stew

Rockwile , MD _ang53
Telephone Number(s): __ 30 I-32x5—-1399

(Home and Cell)

If | have written my wishes below, they should be followed. If not, the person I have named
should decide based on conversations we have had, my religious or other beliefs and
values, my personality, and how | reacted to other peoples’ funeral arrangements. My
wishes about the disposition of my body and my funeral arrangements are:

: Dolores NovsShal is deceased TL wouid
ae mu ody +p be, cremated:

PARTIV: SIGNATURE AND WITNESSES

By signing below, | indicate that | am emotionally and mentally competent to make this
donation and that | — purpose and effect of this document.

oe eh LOZ F.

ature of Donor) “ (Date)

The Donor signed or acknowledged signing the foregoing document in my presence and,
based upon personal observation, appears to be emotionally and mentally competent to

make.this donation.

pfandi Wun ld la0ewK
ignature of Witness) (Date)

S401 -4340 C645

Telephone Number(s):

DE 5] 1-2 [ 20r
Signature of Wit
3 Oye] Bs), (6 ie (Date)
Telephone Number(s): . 5] :
Do | 202. 2
Page 2 of 2 Notary

Mont County, M
My Commision Expires 5/2024

